           Case 1:17-cv-00173-CRK Document 192     Filed 05/04/21   Page 1 of 6

                            UNITED STATES COURT OF INTERNATIONAL TRADE
                                         ONE FEDERAL PLAZA
                                      NEW YORK, NY 10278-0001



CHAMBERS OF
Claire R. Kelly
    Judge


                                                     May 4, 2021

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         Case 1:17-cv-00173-CRK Document 192      Filed 05/04/21   Page 2 of 6

Consol. Court No. 17-00173                                                  Page 2 of 6

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      Re:     Canadian Solar International Limited et al v. United States
              Consol. Court No. 17-00173

Dear Counsel:

      As you know, oral argument in this case will be held virtually on Wednesday,
May 19, 2021 at 9:30 a.m. in Courtroom 1 of the James L. Watson Courthouse of the
United States Court of International Trade, One Federal Plaza, New York, NY 10278.
The court has examined the parties’ submissions and would like counsel to be
prepared to address the following issues.

For Plaintiffs

   1. Notwithstanding any criticisms or qualifications you assert as to its content,
      do you concede that the U.S. Department of Commerce’s (“Commerce”) practice
      Case 1:17-cv-00173-CRK Document 192          Filed 05/04/21   Page 3 of 6

Consol. Court No. 17-00173                                                 Page 3 of 6

      for determining whether average unit value (“AUV”) data from a primary
      surrogate country are aberrational is to determine whether the overall AUV
      for imports of the subject input from all countries into the primary surrogate
      country deviates markedly from the overall AUV for imports of the subject
      input into other potential surrogate countries?

   2. Commerce states that it “determines whether data are aberrational on a case-
      by-case basis after considering the totality of the circumstances.” Final Results
      of Redetermination Pursuant To Ct. Remand at 23, Jan. 13, 2021, ECF No.
      180-1 (“Third Remand Results”). Why is Commerce’s position unreasonable?

   3. You respond to the Government’s invocation of this Court’s decision in Tri
      Union Frozen Prods. Inc. v. United States by suggesting that the decision calls
      for a broader definition of aberrationality. See Cmts. of Canadian Solar
      International Limited et al. & Shanghai BYD Co., Ltd. Opp.’n [Third Remand
      Results] at 8, Feb. 24, 2021, ECF No. 184 (“Canadian Solar & Shanghai BYD’s
      Br.”) (citing Tri Union Frozen Prods. Inc. v. United States, 41 CIT __, 227 F.
      Supp. 3d 1387 (2017) (“Tri Union”)). However, doesn’t Tri Union underscore
      the fact that Commerce needs to analyze what is aberrational on a case-by-
      case basis? See 41 CIT at __, 227 F. Supp. 3d at 1397.

   4. Given that the U.S. International Trade Commission’s (“ITC”) export data
      indicates that “380 times more nitrogen was exported from the United States
      to Thailand . . . than the Thai [Global Trade Atlas (“GTA”)] data indicated was
      imported into Thailand from the United States[,]” Canadian Solar & Shanghai
      BYD’s Br. at 17, you argue that Commerce’s attempt to explain the discrepancy
      between ITC export data and Thai GTA data by appealing to differences in
      timing, reporting, and inspection requirements between the two datasets is
      unavailing. See id. at 16–18; Third Remand Results at 13–15, 27–28.

         a. Even if “[t]he ITC data and the Thai GTA data cannot both be correct[,]”
            SolarWorld Ams. Inc. v. United States, 962 F.3d 1351, 1358 (2020)
            (“SolarWorld”), without record evidence demonstrating which dataset is
            the correct source, why is it unreasonable for Commerce to defer to its
            methodological choice not to rely solely on such disparities as the basis
            for disregarding import data from a surrogate country? See Third
            Remand Results at 28 (“[I]f Commerce was obligated to reject GTA
            import data merely because of such differences, it would hamstring
            Commerce’s [nonmarket economy (“NME”)] practice and may severely
            limit its use of most import data to value FOPs; thus, frustrating the
            intent of the NME provisions of the statute.”).
       Case 1:17-cv-00173-CRK Document 192          Filed 05/04/21   Page 4 of 6

Consol. Court No. 17-00173                                                  Page 4 of 6

          b. Isn’t it the case that Thai imports of nitrogen from the United States
             “amount to only approximately 1.5% of its total POR nitrogen imports
             by quantity[?]” Third Remand Results at 29 (citing Trina’s Case Br. at
             Enclosures 1 & 2, A-570-979, PDs 531–532, bar codes 3538943-01–02
             (Jan. 25, 2017)). 1 If so, why is it unreasonable for Commerce to conclude
             that the fact that “a relatively small portion of the GTA import data
             differ from U.S. export data” is insufficient to reject the entirety of the
             Thai GTA data? Id.

    5. Given Commerce’s position that low AUVs for Mexico, Bulgaria, and Romania
       can be explained by the fact that large quantities of nitrogen are imported into
       those countries from neighboring countries, see Third Remand Results at 21–
       22, why is it necessarily the case that “[t]he only reasonable inference is that
       the AUV derived from the Thai GTA data . . . is likely incorrect and
       unreliable[?]” See Canadian Solar & Shanghai BYD’s Br. at 17 (citations
       omitted).

    6. Why is it unreasonable for Commerce to take into account the burden of
       “assess[ing] the suitability and/or potential aberration of each AUV based on
       the import quantities used to calculate the AUV” and entertaining “subjective
       arguments” and “cherry picking” from parties when formulating its
       methodology for determining whether overall AUV data from a surrogate
       country is aberrational? See Third Remand Results at 13.

For Defendant

    1. Is it essentially your position that the Court of Appeals for the Federal Circuit
       (“Court of Appeals”) misunderstood Commerce’s practice? See generally
       SolarWorld, 962 F.3d 1351.

    2. Notwithstanding Commerce’s clarification of its practice:




1 Commerce appears to inadvertently describe the record document it cites to support
this assertion as having been dated “January 25, 2020” instead of “January 25, 2017”.
See Third Remand Results at 29 & n.78. On October 26, 2017, Defendant submitted
indices to the public and confidential administrative records underlying Commerce’s
final determination. These indices are located on the docket at ECF No. 44-2–4.
Citations are to the numbers assigned to the documents by Commerce in these
indices. References to the public administrative record are in the form of “PD,” and
references to the confidential administrative record are in the form of “CD.”
       Case 1:17-cv-00173-CRK Document 192          Filed 05/04/21   Page 5 of 6

Consol. Court No. 17-00173                                                  Page 5 of 6

         a. Didn’t the Court of Appeals also criticize Commerce’s “bookend”
            methodology as being illogical, and wasn’t that the more pertinent
            criticism? See SolarWorld, 962 F.3d at 1357–58 (“[T]he use of a bookend
            methodology here is illogical because it fails to account for the fact that
            countries on one end of the bookend (Bulgaria and Romania) account for
            the vast majority (99.22%) of the recorded nitrogen imports, that these
            countries have a substantially lower average unit value than that of
            Thailand, and that the other countries to which Commerce compares
            the Thai average unit value (the other end of the bookend) together
            represent only a fraction of a percent of the quantity (about 0.40%)
            recorded in the GTA.”)

         b. Did the Court of Appeals generally suggest that there was a problem
            with the bookend methodology in this case because of a distortive effect
            of low quantity imports? See SolarWorld, 962 F.3d at 1357–58.

   3. You cite Tri Union for the proposition that “Commerce clarified that its practice
      is to consider data to be aberrational when it is an extreme outlier, is distorted
      or misrepresentative, or is somehow incorrect.” See Def.’s Resp. to Cmts. on
      [Third Remand Results] at 5, Mar. 26, 2021, ECF No. 185 (“Def.’s Resp.”)
      (citing Tri Union, 41 CIT at __, 227 F. Supp. 3d at 1394–95). Aside from this
      case being non-binding, aren’t you misstating the court’s opinion which
      underscores that while Commerce stated that its practice was to consider data
      aberrational when it is an extreme outlier, Commerce failed to provide a
      definition or explanation for “aberrational”? See Tri Union, 41 CIT at __, 227
      F. Supp. 3d at 1394–95.

   4. Although differences between ITC export data and Thai GTA import data may
      be explained by differences in timing, reporting, and inspection requirements,
      how does that reasonably address Plaintiffs’ argument that the ITC data
      indicates 380 times more nitrogen was exported into Thailand than is reported
      by the Thai GTA data? See Canadian Solar & Shanghai BYD’s Br. at 17.
      Doesn’t the large variation suggest that the Thai GTA data can’t be trusted?

   5. Commerce posits that low AUVs for Mexico, Bulgaria, and Romania can be
      explained by the fact that large quantities of nitrogen are imported into those
      countries from neighboring countries. See Third Remand Results at 21–22. Is
      there any record evidence that supports Commerce’s position?

   6. In its remand redetermination, what support does Commerce cite for its
      apparent position “that Bulgaria did not produce subject merchandise and
      Case 1:17-cv-00173-CRK Document 192        Filed 05/04/21   Page 6 of 6

Consol. Court No. 17-00173                                               Page 6 of 6

      Thailand does”? See Def.’s Resp. at 21 (citing Issues & Decision Memo. for the
      Final Results of the 2014–2015 Antidumping Duty Admin. Review of
      Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into
      Modules, From the People’s Republic of China at 7–8, A-570-979, (June 20,
      2017), ECF No. 44-5). How do you respond to Plaintiffs’ argument that
      Commerce does not cite record evidence to support its assertions with respect
      to the purity of nitrogen used in solar cells? See Canadian Solar & Shanghai
      BYD’s Br. at 15; see also Third Remand Results at 22–23.

                                                   Sincerely,
                                                    /s/ Claire R. Kelly
                                                   Claire R. Kelly, Judge

Cc: Steve Taronji
    For docketing
